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                                                  UNTTED STATES DISTRICT COURT
                                                  WESTERN DISTRICT OF NEW YORK



 IN THE MATTER OF THE APPLICATION OF
  Meredith Mandell                                                                                                  SPONSORING
                      (Name)                                                                                         AFFTOAVTT
 TO BE ADMITTED TO PRACTICE AS AN ATTORNEY



 STATE OF NEW YORK             )
                                   ) ss:
 COUNTYOF ERIE                 )

 J. Michael Lennon                                                    _, being duly swom deposes and says:



 1: Iresideat:

 299 Walton Drive, Amherst, New York14226
and maintain an office for the practice oflaw at:.535
                                                          Washington Street, Suite 1000,
 Buffalo,NewYork 14203


2.1 am an attomey at law, admitted to practice in the State        of New York

                                                             , I was admitted to practice in the United States Disb-ict Court for the

Westem District ofNew York on the
                                           4th      day of
                                                              May                             2004
3. I have known the petitioner since
                                           May 2021                                                  and under the following

circumstances:
Ms. Mandell is associated with Quinn Emanuel and 1 have worked directly with her

over the past weeks on the litigated matter for which she seeks pro hac vice admission.

4. I know the following about the petitioner's moral character and fitness to be admitted to practice in this Court:
Ms. Mandell's moral character and fitness to be admitted to practice in this Court are satisfactory

 in all respects and 1 recommend her admission pro hac vice without hesitation_


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Swom to before me this . -? day of ^JU^L           2-C>^.\
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                    Notary Public
                                                  r>                         ^KATHARINELBROWN
                                                                          Notary Public, State Of New Yoric
                                                                               Qualifit
                                                                      Conunlssion Expires September'28,20 Z^)
